     Case 2:23-cr-00059-MEMF Document 10 Filed 02/10/23 Page 1 of 6 Page ID #:81



 1
                                                               2/10/2023
 2                                                               VAV


 3

 4

 5

 6

 7

 8                        UNITED STATES DISTRICT COURT
 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,            CR No. 2:23-cr-00059-MEMF
11                   Plaintiff,           I N F O R M A T I O N
12                   v.                   [18 U.S.C. § 1349: Conspiracy
                                          to Commit Wire Fraud; 18 U.S.C.
13   CAROLINE JOANNE HERRLING,            § 1028A(a)(1): Aggravated
       aka “Carrie Phenix,”               Identity Theft; 21 U.S.C.
14                                        §§ 841(a)(1), (b)(1)(C):
                     Defendant.           Possession of Controlled
15                                        Substances with the Intent to
                                          Distribute; 18 U.S.C.
16                                        § 982(a)(2): Criminal
                                          Forfeiture]
17

18        The United States Attorney charges:

19                                   COUNT ONE

20                              [18 U.S.C. § 1349]

21        Beginning in or before 2020, and continuing through at

22   least January 12, 2023, in Los Angeles County, within the

23   Central District of California, and elsewhere, defendant

24   CAROLINE JOANNE HERRLING, also known as “Carrie Phenix,” and

25   others, conspired to commit wire fraud, in violation of Title

26   18, United States Code, Section 1343.        The object of the

27   conspiracy was carried out, and to be carried out, in substance,

28   as follows:   Defendant HERRLING and her co-conspirators would
     Case 2:23-cr-00059-MEMF Document 10 Filed 02/10/23 Page 2 of 6 Page ID #:82



 1   steal the identities of mostly elderly victims who owned real

 2   property.   Defendant HERRLING and her co-conspirators would

 3   forge power of attorney forms so that defendant HERRLING could

 4   pretend to act on behalf of her victims when stealing their real

 5   estate and savings and investment accounts.         Defendant HERRLING

 6   and her co-conspirators would dispose of the bodies of some of

 7   their victims in order to make it appear that they were still

 8   alive and supported the actions defendant HERRLING wanted to

 9   take with their assets.     Defendant HERRLING would also attempt

10   to hide the death of one of her victims by hiring persons to

11   impersonate him, and to falsely claim to have seen him alive.

12   Defendant HERRLING and her co-conspirators used interstate wires

13   to defraud their victims throughout this conspiracy.

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                         2
     Case 2:23-cr-00059-MEMF Document 10 Filed 02/10/23 Page 3 of 6 Page ID #:83



 1                                   COUNT TWO

 2                         [18 U.S.C. § 1028A(a)(1)]

 3        Beginning in or before 2020, and continuing through at

 4   least January 12, 2023, in Los Angeles County, within the

 5   Central District of California, and elsewhere, defendant

 6   CAROLINE JOANNE HERRLING, also known as “Carrie Phenix,”

 7   knowingly transferred, possessed, and used, without lawful

 8   authority, a means of identification of another person,

 9   including the name of victim C.W. on or about January 12, 2023,

10   during and in relation to a felony violation of Title 18, United

11   States Code, Section 1349, Conspiracy to Commit Wire Fraud, as

12   charged in Count One of this Information, knowing that the means

13   of identification belonged to another actual person.

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                         3
     Case 2:23-cr-00059-MEMF Document 10 Filed 02/10/23 Page 4 of 6 Page ID #:84



 1                                  COUNT THREE

 2                    [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]

 3        Beginning on an unknown date, and continuing through at

 4   least January 12, 2023, in Los Angeles County, within the

 5   Central District of California, and elsewhere, defendant

 6   CAROLINE JOANNE HERRLING, also known as “Carrie Phenix,”

 7   knowingly and intentionally possessed with intent to distribute

 8   a mixture and substance containing a detectable amount of heroin

 9   and psilocybin, Schedule I controlled substances, and

10   methamphetamine, a Schedule II controlled substance.

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                         4
     Case 2:23-cr-00059-MEMF Document 10 Filed 02/10/23 Page 5 of 6 Page ID #:85



 1                            FORFEITURE ALLEGATION

 2                           [18 U.S.C. § 982(a)(2)]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given to defendant CAROLINE JOANNE

 5   HERRLING (“defendant”), that the United States will seek

 6   forfeiture as part of any sentence in accordance with Title 18,

 7   United States Code, Section 982(a)(2), in the event of

 8   defendant’s conviction of the offenses set forth in either of

 9   Counts One or Two of this Information.

10        2.    The defendant, if so convicted, shall forfeit to the

11   United States the following property:

12              a.    All right, title and interest in any and all

13   property, real or personal, constituting, or derived from, any

14   proceeds obtained, directly or indirectly, as a result of the

15   offenses, without limitation:

16                    i.   the real property with Assessor’s Parcel

17   Number 2005-012-003, commonly known as 8361 Woodlake Avenue,

18   West Hills, California 91304, with title held by CAROLINE

19   HERRLING; and

20              b.    To the extent such property is not available for

21   forfeiture, a sum of money equal to the total value of the

22   property described in subparagraph (a).

23        3.    Pursuant to Title 21, United States Code, Section

24   853(p), as incorporated by Title 18, United States Code, Section

25   982(b), the defendant, if so convicted, shall forfeit substitute

26   property, up to the value of the property described in the

27   preceding paragraph if, as the result of any act or omission of

28   the defendant, the property described in the preceding paragraph

                                         5
     Case 2:23-cr-00059-MEMF Document 10 Filed 02/10/23 Page 6 of 6 Page ID #:86



 1   or any portion thereof (a) cannot be located upon the exercise

 2   of due diligence; (b) has been transferred, sold to, or

 3   deposited with a third party; (c) has been placed beyond the

 4   jurisdiction of the court; (d) has been substantially diminished

 5   in value; or (e) has been commingled with other property that

 6   cannot be divided without difficulty.

 7

 8
                                 E. MARTIN ESTRADA
 9                               United States Attorney

10

11

12
                                 MACK E. JENKINS
13                               Assistant United States Attorney
                                 Chief, Criminal Division
14
                                 RANEE A. KATZENSTEIN
15                               Assistant United States Attorney
                                 Chief, Major Frauds Section
16

17                               ANDREW BROWN
                                 Assistant United States Attorney
18                               Major Frauds Section

19

20

21

22

23

24

25

26

27

28

                                         6
